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                Sacramento, CA 95814
           4    Telephone: (916) 874-8006
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           5    File No.: 457.04A
           6    Attorneys for defendant John McGinness
           7
           8                    IN THE UNITED STATES DISTRICT COURT FOR
           9                        THE EASTERN DISTRICT OF CALIFORNIA
          10                                         SACRAMENTO
          11    VIDEO GAMING TECHNOLOGIES                      Case No. 2:08-cv-01241-JAM-EFB
                INC., dba VGT Inc., a Tennessee
          12    Corporation; UNITED CEREBRAL
                PALSY OF GREATER                               STIPULATION AND ORDER RE:
          13    SACRAMENTO, a California Non-                  AMENDMENT OF PRELIMINARY
                Profit Corporation; WIND Youth                 INJUNCTION
          14    Services, a California Non-Profit
                Corporation; ROBERT FOSS, an
          15    individual; and JOAN SEBASTIANI an
                individual,
          16                                                   Date: December 17, 2008
                              Plaintiffs,                      Time: 9:00 a.m.
          17                                                   Dept.: 6
                vs.                                            Judge: Hon. John Mendez
          18
                BUREAU OF GAMBLING CONTROL,
          19    a Law Enforcement Division of the
                California Department of Justice;
          20    MATHEW J. CAMPOY, in his Official
                Capacity As the Acting Chief of the
          21    Bureau of Gambling Control; and
                JOHN MCGINNESS, in His Official
          22    Capacity as the Sacramento County
                Sheriff,
          23
                              Defendants.
          24
                AND RELATED INTERVENORS
          25
          26
          27
          28                                                 -1-
                _____________________________________________________________________________________________
                STIPULATION AND ORDER RE: AMENDMENT OF PRELIMINARY INJUNCTION

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           1                  IT IS HEREBY STIPULATED, by and between plaintiffs, intervenors, and
           2    defendant John McGinness, through their respective attorneys of record, that the
           3    preliminary injunction issued on June 30, 2008, as amended on August 25, 2008, which is
           4    currently in effect in the above-entitled matter, now applies to Mr. McGinness, in his
           5    official capacity as the sheriff of the County of Sacramento. Accordingly, Mr.
           6    McGinness, and any person and/or entity acting on his behalf (including, but not limited
           7    to, any County of Sacramento personnel), is enjoined from taking any enforcement action
           8    against the electronic bingo machines identified in defendants Bureau of Gambling
           9    Control and Mathew J. Campoy’s (collectively, the “Bureau’s”) cease-and-desist orders
          10    and in the Court’s Order Granting Preliminary Injunction, notwithstanding the enactment
          11    of California Senate Bill 1369 (“SB 1369”) and Sacramento County Ordinance number
          12    1403 (“SCC 1403”), both of which are set to become effective on January 1, 2009.
          13           The parties further stipulate that the use of the electronic bingo machines
          14    described above shall remain subject to the provisions, requirements, standards, and
          15    prohibitions described in Sacramento County Code sections 4.26.167(c) and 4.29.055(c)
          16    and Sacramento County Bingo regulations as they existed on August 25, 2008. Violation
          17    of those rules and regulations shall still be subject to administrative remedies as provided
          18    in the Sacramento County Code.
          19           The parties further stipulate that the preliminary injunction shall remain in full
          20    force and effect until such time as there is a judicial resolution by the Court of Appeals
          21    for the Ninth Circuit or this Court, which allows the Bureau of Gambling Control and/or
          22    Mr. McGinness to proceed with enforcement action against the electronic bingo machines
          23    at issue.
          24           The parties further stipulate that if the Bureau of Gambling Control and/or the
          25    Sheriff is permitted to proceed with enforcement action as to the electronic bingo
          26    machines at issue pursuant to the judicial resolution described above, plaintiffs and
          27                                                 -2-
                _____________________________________________________________________________________________
          28    STIPULATION AND ORDER RE: AMENDMENT OF PRELIMINARY INJUNCTION



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           1    intervenors shall have 15 days from the date of such judicial resolution to remove such
           2    machines from their respective places of operation before Mr. McGinness is allowed to
           3    seize them. However, such machines shall be turned off and rendered inoperable the day
           4    following such judicial resolution. Any plaintiff or intervenor operating or using the
           5    electronic bingo machines at issue after the day following such judicial resolution shall
           6    be subject to any other administrative remedy provided in the Sacramento County Code.
           7           Based on this stipulation, plaintiffs and intervenors withdraw without prejudice
           8    their Motion to Amend Preliminary Injunction in Light of Intervening Change in Law in
           9    its entirety, which motion shall be taken off the Court’s calendar.
          10           The parties further stipulate that by executing this stipulation, Mr. McGinness is
          11    not waiving his position and any arguments that he may have in either the Court of
          12    Appeals or the District Court on any issue raised by the operative pleadings or by the
          13    preliminary injunction.
          14
          15    DATED: December 3, 2008                    ROBERT A. RYAN, JR., County Counsel
                                                           Sacramento, California
          16
          17
          18                                               _______________________________
                                                           JOHN E. REED
          19                                               Deputy County Counsel

          20
                DATED: December 2, 2008                    NOSSAMAN LLP
          21
          22
                                                           /s/GEOFFREY A. GOODMAN
          23                                               _______________________________
                                                           GEOFFREY A. GOODMAN
          24                                               Attorneys for Intervenors Capital Bingo, et. al.
          25
          26
          27                                                 -3-
                _____________________________________________________________________________________________
          28    STIPULATION AND ORDER RE: AMENDMENT OF PRELIMINARY INJUNCTION



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           1    DATED: December 2, 2008                                           STEVENS, O’CONNELL & JACOBS LLP
           2
           3                                                                      /s/MATTHEW G. JACOBS
                                                                                  _______________________________
           4                                                                      MATTHEW S. JACOBS
                                                                                  Attorneys for Plaintiffs
           5
           6    DATED: December 2, 2008                                           LAW OFFICES OF K. GREG PETERSON

           7
                                                                                  /s/K. GREG PETERSON
           8                                                                      _______________________________
           9                                                                      K. GREG PETERSON
                                                                                  Attorneys for Intervenor El Camino Boosters.
          10
          11
          12
          13    IT IS SO ORDERED
          14
          15    DATE: December 3, 2008                                            /s/ John A. Mendez_______
                                                                                  Honorable John A. Mendez
          16                                                                      U. S. District Judge
          17
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          25    w:\litigate\bingo compliance\2008\vgt v. agt~304.08a\stipulation re preliminary injunction.doc

          26
          27                                                                          -4-
                _____________________________________________________________________________________________
          28    STIPULATION AND ORDER RE: AMENDMENT OF PRELIMINARY INJUNCTION



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